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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

    JOHN CATURANO,

                                 Plaintiff,             Case No. 0:20-cv-62359

             v.
    ARMCHEM INTERNATIONAL CORP.,

                                 Defendant.

               PLAINTIFF/COUNTERCLAIM-DEFENDANT JOHN CATURANO’S
                    MOTION TO DISMISS AMENDED COUNTERCLAIMS
                       AND SUPPORTING MEMORANDUM OF LAW

          Plaintiff/Counterclaim-Defendant, John Caturano (“Caturano” or “Plaintiff’), by and

   through his undersigned counsel, pursuant to Fed. R. Civ. P. 12(b)(6), moves to dismiss

   Defendant/Counterclaimant Armchem International Corporation’s (“Armchem” or “Defendant”)

   Amended Counterclaims (DE 39-1) for: (1) breach of fiduciary duty (Count III); (2) tortious

   interference with contractual relationship (Count IV); and (3) tortious interference with

   advantageous business relationship (Count V). In support thereof, Caturano states as follows:

          1.     On January 12, 2021, Caturano filed a Motion to Dismiss Counts III-V of

   Armchem’s Counterclaims. [DE 36]. In response, on January 26, 2021, Armchem filed Amended

   Counterclaims. [DE 39-1]. But just like the original Counterclaims, Armchem’s Amended

   Counterclaims are legally deficient and should be dismissed for the following reasons.

          2.     Armchem fails to state a plausible claim for breach of fiduciary duty (Count III)

   because: (1) Armchem fails to allege the existence of a legally cognizable fiduciary duty; (2)

   Armchem’s fiduciary duty claim is predicated on the same conduct as its breach of contract claim

   (Count II), and thus it is duplicative of its breach of contract claim; and (3) Armchem has not

   alleged that any breach of fiduciary duty occurred until after Caturano left his employment with



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   Armchem, at which point any alleged “fiduciary duty” had ended.

          3.      In addition, Armchem’s claims for tortious interference with contractual

   relationship (Count IV) and advantageous business relationships (Count V) fail as a matter of law

   because: (1) the two claims are duplicative; (2) Armchem fails to allege the existence of a current

   or prospective contract with which Caturano allegedly interfered; (3) any interference, if any, was

   justified and furthered a legitimate business interest; and (4) Armchem’s tortious interference

   claims are duplicative of its breach of contract claim (Count II).

          4.      For the aforementioned reasons and those described in Caturano’s Memorandum

   of Law filed contemporaneously hereto, Caturano respectfully requests that the Court dismiss

   Armchem’s claims for breach of fiduciary duty (Count III), tortious interference with contractual

   relationship (Count IV), and tortious interference with advantageous business relationship (Count

   V), with prejudice.

                                     MEMORANDUM OF LAW

          Armchem “is in the business of manufacturing, selling, and distributing a range of cleaning

   supplies, maintenance products, and safety products to customers in various parts of the United

   States.” Armchem’s Amended Counterclaims. [DE 39-1], Counterclaim, at ¶ 6. Armchem alleges

   that in or around July 2016, “Caturano approached Armchem about becoming an Armchem

   employee in its sales department.” Id. at ¶ 7. Armchem alleges that from July 2016 until Caturano’s

   resignation in December 2019, Armchem “employed Caturano as a direct employee.” Id. at ¶ 29.

   Caturano acted as a Sales Manager for Armchem, “supervising Armchem and its affiliates sales

   representatives in selling and distributing products to customers in the State of North Carolina and

   other parts of the United States.” Id. at ¶ 28. Armchem alleges that in July 2016, Caturano entered

   into a “Noncompetition, Nonsolicitation and Confidentiality Agreement” (“the Agreement” or



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   “the Contract”) with Armchem. Id. at ¶ 10.1

           Caturano resigned from Armchem in December 2019. Id. at ¶ 32. He began working as a

   Sales Manager for Momar, Inc. in February 2020. Id. at ¶ 33. Armchem alleges that “Momar is a

   direct competitor of Armchem,” as it is also “in the business of selling and distributing a range of

   cleaning supplies, maintenance products, and safety products to customers in various parts of the

   United States.” Id. at ¶ 34-35. Armchem alleges that Caturano’s responsibilities at Momar are

   similar to his responsibilities as a Sales Manager for Armchem and that Caturano’s sales territory

   “is similar to, if not the same as, his sales territory while employed with Armchem.” Id. at ¶¶ 36-

   37.

           Armchem alleges that since starting to work at Momar, Caturano has violated the terms of

   the Agreement by reaching out to several Armchem sales representatives and recruiting them to

   accept employment at Momar; using information that he learned while at Armchem to recruit

   salespeople from Armchem to go to work for Momar; providing information that he learned while

   at Armchem in order to give an unfair business advantage to Momar; and using information he

   learned while at Armchem to benefit Momar in keeping, developing, and soliciting new clients.

   Id. at ¶ 38.

           Armchem also alleges that Caturano has been “using Confidential Information he learned

   while at Armchem to the detriment of Armchem and its affiliates and to the benefit of himself and

   Momar; . . . [and] [o]therwise competing directly with Armchem and its affiliates in the restricted

   geographical territory by working for Armchem’s and its affiliates’ direct competitor in the same



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           Though not directly pertinent to the instant motion, Caturano has repeatedly denied ever
           signing the Agreement. See, e.g., Caturano’s Complaint, filed as Exhibit A to Armchem’s
           Notice of Removal [DE 1-01], 12-13; Caturano’s Response to Armchem’s Motion to
           Transfer [DE 6], pp. 3-4.

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   or similar capacity as his job at Armchem.” Id. at ¶ 38. Armchem also claims that Caturano has

   been “using Confidential Information to the advantage of himself and Momar and to the

   disadvantage of Armchem” and that Armchem “maintain[s] specific marketing, specialized

   training, customer goodwill, and valuable confidential business or professional information.” Id.

   at ¶¶ 50, 52.

           Based on the foregoing alleged conduct, Armchem has filed five amended counterclaims

   against Caturano (DE 39-1) for: (1) injunctive relief; (2) breach of contract; (3) breach of fiduciary

   duty; (4) tortious interference with contractual relationships; and (5) tortious interference with

   advantageous business relationships. For the reasons outlined below, Armchem has failed to state

   claims for breach of fiduciary duty (Count III), tortious interference with contractual relationship

   (Count IV), and tortious interference with advantageous business relationship (Count V), which

   should be dismissed with prejudice.

                         ARGUMENT AND CITATIONS TO AUTHORITY

   I.      Legal Standard

           To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

   556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This

   means a complaint must contain “more than labels and conclusions, and a formulaic recitation of

   the elements of a cause of action will not do.” Twombly, 550 U.S. at 555; see also Iqbal, 556 U.S.

   at 678 (“[threadbare recitals of the elements of a cause of action, supported by mere conclusory

   statements, do not suffice”). Yet, any allegations which are merely legal conclusions are not

   entitled to an assumption of truth. Am. Dental Ass'n v. Cigna Corp., 605 F.3d 1283, 1290 (11th

   Cir. 2010) (citing Iqbal, 556 U.S. at 678). After an initial identification of factual allegations, the

   Court assumes the truth of the well-pleaded factual allegations and determines if those allegations
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   plausibly give rise to relief. Iqbal, 556 U.S. at 679. Nevertheless, the Court may grant a motion to

   dismiss when, “on the basis of a dispositive issue of law, no construction of the factual allegations

   will support the cause of action.” Marshall Cnty. Bd. of Educ. v. Marshall Cnty. Gas Dist., 992

   F.2d 1171, 1174 (11th Cir.1993).

   II.    Armchem Fails To State A Plausible Claim For Breach Of A Fiduciary Duty.

          A.      Armchem’s Breach of Fiduciary Duty Claim (Count III) Is Duplicative Of Its
                  Breach of Contract Claim (Count II).

          Armchem pleads itself out of court by claiming that the alleged breach of a “fiduciary duty”

   is based on the alleged underlying employment contract. [Dkt. 39-1], Counterclaims at ¶¶ 81-85.

   Based upon the express allegations of the Counterclaim, Armchem negotiated a written agreement

   setting forth its rights insofar as Caturano’s employment, including his corresponding contractual

   duties owed back to Armchem. It should not be a surprise that the claims for breach of fiduciary

   duty are predicated upon the same set of operative facts which underly Armchem’s claims for

   breach of contract. Thus, the claims for breach of fiduciary duty are not separate and independent,

   and should be dismissed in deference to the alleged agreement between the parties.

          Florida courts dismiss tort claims where an alleged breach of duty is not independent of an

   alleged breach of contract. See Kika M2M LLC v. Pittman, No. 17-60283-CIV, 2017 WL 7732872,

   at *5–6 (S.D. Fla. Sept. 5, 2017) (Dimitrouleas, J.) (dismissing tort claim that was duplicative of

   contract claim); Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d 1302, 1318 (S.D. Fla. 2014)

   (dismissing tort claim that was duplicative of contract claim); Godwin Pumps of Am. v. Ramer,

   2011 WL 2181183, *2 (M.D. Fla. June 3, 2011) (same); MKT REPS S.A. DE C.V. v. Std. Chtd.

   Bank Int’l (Ams.) Ltd., 2012 WL 2994125, *2-3 (S.D. Fla. July 20, 2012) (same).

          Indeed, Florida courts routinely dismiss breach of fiduciary duty claims where they simply

   duplicate breach of contract claims. See XP Glob., Inc. v. AVM, L.P., No. 16-CV-80905, 2016 WL


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   6679427, at *4 (S.D. Fla. Nov. 14, 2016); Bassler v. George Weston Bakeries Distribution, Inc.,

   No. 3:08-CV-595-J-32JRK, 2009 WL 10670776, at *5 (M.D. Fla. June 16, 2009), report and

   recommendation adopted, No. 3:08-CV-595-J-32JRK, 2009 WL 10670777 (M.D. Fla. July 14,

   2009) (dismissing breach of fiduciary duty claim due to economic loss rule because “most, if not

   all, of the factual allegations contained in the breach of contract claim are repeated in the breach

   of fiduciary duty claim”).

          In XP Glob., Inc., for instance, the court dismissed a breach of fiduciary duty claim because

   the plaintiff’s tort allegations were “expressly contemplated by the terms of the Agreement.” Id.

   Thus, the plaintiff’s breach of fiduciary duty claim “relie[d] solely on the same alleged conduct

   forming the basis of the Plaintiff’s claim for breach of contract, and is therefore barred by the

   independent tort doctrine.” Id. (citing Federal Deposit Ins. Corp. v. Law Office of Rafael Ubieta,

   P.A., 2012 WL 5307152, at *8 (S.D. Fla. Oct. 29, 2012) (dismissing fiduciary duty claim as

   duplicative of contract claim where the defendants' “alleged breach of the fiduciary duty . . . [was]

   almost inseparable from the conduct [the plaintiff] allege[d] qualifie[d] as a breach of contract”)).

          Here, Armchem’s breach of fiduciary duty claim suffers from the same insurmountable

   defects. Not only does Armchem’s breach of fiduciary duty claim arise from the same alleged

   conduct and alleged contractual duty that gave rise to its claim for breach of restrictive covenant,

   but Armchem has failed to allege that it suffered anything more than economic loss as a result of

   the alleged breach. Specifically, Armchem claims Caturano breached the restrictive covenant in

   two ways: (1) by allegedly “competing directly with Armchem” in the restricted territories; and

   (2) by allegedly “using Confidential Information to the advantage of himself and Momar and to

   the disadvantage of Armchem.” [Dkt. 39-1] Counterclaims at ¶¶ 48, 50. Armchem also asserts that

   it “maintains specific marketing, specialized training, customer goodwill, and valuable



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   confidential business or professional information.” Id. at ¶ 52.

          By comparison, Armchem’s breach of fiduciary duty claim states that Caturano had “a

   fiduciary duty to preserve and protect such confidential business information from all unauthorized

   disclosures and unauthorized use” and that “Caturano breached his fiduciary duty to Armchem and

   its affiliates, by failing to preserve and protect the Confidential Information from all unauthorized

   disclosures and unauthorized uses, and by using the Confidential Information in a way that places

   his own interest and the interest of Momar before that of Armchem.” Id. at ¶¶ 81, 85.

          On the face of the pleadings, Armchem’s basis for claiming breach of fiduciary duty is

   precisely the same as its basis for claiming breach of contract – that Caturano allegedly misused

   Armchem’s “Confidential Information” in a way that harms Armchem’s interests. Thus,

   Armchem’s breach of fiduciary duty claim is contemplated within the same contractual terms

   underlying its breach of contract claim and is barred by Florida law.

          B.      Armchem Fails To Allege The Existence Of A Cognizable Legal Duty.

          Armchem’s claim fails to plead facts demonstrating that Caturano even owed a fiduciary

   duty. Armchem claims that Caturano owed Armchem a fiduciary duty and breached that duty by

   failing to protect Armchem’s “Confidential Information” and by putting Caturano’s interests, and

   the interests of Caturano’s new employer, ahead of Armchem’s interests. See [DE 39-1],

   Counterclaims ¶¶ 81-86. However, Armchem alleges nothing more than a traditional employer-

   employee relationship, which does not give rise to any such fiduciary obligations.

          To establish a fiduciary relationship, “‘a party must allege some degree of dependency on

   one side and some degree of undertaking on the other side to advise, counsel, and protect the

   weaker party.’” Hebert v. Middleby Marshall Holdings, LLC, No. 13-61076-CIV, 2013 WL

   4097779, at *3 (S.D. Fla. Aug. 13, 2013). The determination of whether a fiduciary relationship

   exists is fact-specific, turning on whether there is a relationship of “trust and confidence” between
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   the parties that would give rise to fiduciary duties. See Court Appointed Receiver of Lancer

   Offshore, Inc. v. Citco Group, Ltd., No. 05–60080–CIV–MARRA/JOHNSON, 2008 WL 926513

   (S.D.Fla. Mar. 31, 2008).

          An employment relationship does not necessarily create a fiduciary relationship. See

   Orlinksy v. Patraka, 971 So.2d 796, 802 (Fla. Dist. Ct. App. 2007) (finding that plaintiff did not

   have a fiduciary relationship with her employer because plaintiff was an at-will employee). Florida

   courts do not find that an employee owes a de facto fiduciary duty to his employer. Heritage

   Schooner Cruises, Inc. v. Cansler, No. 13-22494-CIV, 2013 WL 5636689, at *3–4 (S.D. Fla. Oct.

   16, 2013). Instead, Florida courts find that fiduciary duties are created in relationships

   characterized by “trust and assent.” Id. “A fiduciary relationship arises when one person (a

   “principal”) manifests assent to another person (an “agent”) such that the agent shall act on the

   principal's behalf and subject to the principal's control.” Id. (citations omitted). Without facts

   supporting the existence of a special degree of trust between the employee and employer, the

   relationship does not create the basis of a fiduciary relationship. Id.

          In Hebert v. Middleby Marshall Holdings, for instance, the fact that the plaintiff was

   employed as a salesman from 2003-2012 and received a “salary-plus-commission compensation

   structure” was not sufficient to establish a fiduciary relationship. No. 13-61076-CIV, 2013 WL

   4097779, at *1, 3 (S.D. Fla. Aug. 13, 2013). The court reasoned that there were no allegations,

   other than the mere existence of an employment relationship, that demonstrated an expectation of

   trust and confidence between the parties. Id. at *3.

          Here, other than conclusory allegations that Caturano owed a “fiduciary duty,” Armchem

   has not alleged facts demonstrating the requisite “trust and assent” and has instead alleged nothing

   more than a traditional employer-employee relationship. Armchem alleges that “Caturano



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   approached Armchem about expanding his employment with Armchem.” [DE 39-1],

   Counterclaims ¶ 7. Armchem also states that “[f]rom July 2016 until his resignation in December

   2019, Armchem employed Caturano as a Sales Manager, supervising Armchem and its affiliates

   sales representatives in selling and distributing products to customers in the State of North Carolina

   and other parts of the United States.” Id. at ¶ 28. Armchem claims it “employed Caturano as a

   direct employee.” Id. at ¶ 29. However, Armchem does not claim that Caturano ever held some

   position of power that would give him “special degree of trust” over Armchem. Heritage Schooner

   Cruises, Inc., No. 13-22494-CIV, 2013 WL 5636689, at *3–4. The pleadings on their face make

   clear that Caturano was simply an employee of Armchem, which does not in itself give rise to a

   fiduciary duty as a matter of law.

          C.      Armchem Does Not Allege Conduct Constituting A Breach Until After the
                  Alleged Fiduciary Duty Ended.

          Although Caturano denies the existence a cognizable fiduciary duty to Armchem, even if

   a duty existed, Armchem’s claim fails anyway because Armchem does not allege that a breach

   occurred until two months after Caturano left Armchem to begin employment at Momar. Under

   long-standing Florida precedent, a former employee does not owe a fiduciary duty to a former

   employer and is free to compete against that former employer. See Connelly v. Special Rd. &

   Bridge Dist. No. 5, 99 Fla. 456, 467 (Fla. 1930) (“[A]fter his term of service has expired, [servant]

   is entitled to compete in business with his master on the same footing as a stranger, with the

   qualification that the servant is precluded from using for his own advantage information or material

   acquired by him in the course of his employment.”); Renpak, Inc. v. Oppenheimer, 104 So. 2d 642,

   645 (Fla. Dist. Ct. App. 1958) (denying breach of fiduciary duty allegation because “[I]n the

   absence of an express contract equity will not enjoin an agent or employee, after the cessation of

   his employment, from soliciting business from customers of a former principal or employer where


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   no business secret or trust had been reposed in him because of this relationship.”).

           Here, Armchem’s breach of fiduciary duty claim stems from conduct that Caturano

   purportedly committed after he left Armchem to work for Momar. [DE 39-1], Counterclaims ¶ 38.

   Specifically, Armchem alleges that, “[s]ince commencing employment with Momar, Caturano has

   violated the terms of the Agreement by...” Id. ¶ 38 (emphasis added). Armchem does not allege

   that Caturano breached a duty, if any, while it would have existed. Accordingly, Armchem pleads

   itself out of court – again – by failing to allege that the breach of fiduciary duty occurred while

   that duty, if any, actually existed.

   III.    Armchem Fails To State Claims For Tortious Interference with Contractual
           Relationship (Count IV) And Tortious Interference With Advantageous Business
           Relationship (Count V).

           A.      Armchem’s Claim of Tortious Interference With Advantageous Business
                   Relationship (Count V) Merely Repeats Its Claim of Tortious Interference
                   With Contractual Relationship (Count IV).

           Armchem’s fifth claim for “tortious interference with advantageous business relationship”

   simply repeats its fourth claim for tortious interference with contractual relationship. Compare

   [DE 39-1] Counterclaims ¶ 90 (“Caturano unjustifiably and intentionally interfered with the

   contractual relationships between Armchem, and its affiliates, and their current and former

   employees by inducing them to breach their contractual obligations with Armchem and its

   affiliates and begin employment with Momar.”); with [DE 39-1] Counterclaims ¶ 97 (“Caturano

   unjustifiably and intentionally interfered with the business relationship between Armchem, and its

   affiliates, and their current and former employees by inducing them to breach their contractual

   obligations with Armchem or its affiliates and begin employment with a competitor of

   Armchem.”). Thus, despite the style difference, Count IV and V are identical and should be

   dismissed for the same reasons outlined below.



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           B.      Armchem’s Claims For Tortious Interference With Contractual Relationship
                   (Count IV) And Advantageous Business Relationship (Count V) Are
                   Duplicative Of Its Breach of Contract Claim (Count II).

           As described supra pp. 5-7, Florida courts bar tort claims where plaintiffs fail to allege a

   breach of duty independent of an alleged breach of contract. See Kika M2M LLC v. Pittman, No.

   17-60283-CIV, 2017 WL 7732872, at *5–6 (S.D. Fla. Sept. 5, 2017) (Dimitrouleas, J), (dismissing

   tortious interference claim that was duplicative of contract claim); Alhassid v. Bank of Am., N.A.,

   60 F. Supp. 3d 1302, 1318 (S.D. Fla. 2014) (dismissing tort claim that was duplicative of contract

   claim); Godwin Pumps of Am. v. Ramer, 2011 WL 2181183, *2 (M.D. Fla. June 3, 2011) (same);

   MKT REPS S.A. DE C.V. v. Std. Chtd. Bank Int’l (Ams.) Ltd., 2012 WL 2994125, *2-3 (S.D. Fla.

   July 20, 2012 (same). The theory for this rule is the assumption that the parties to a contract have

   allocated the economic risks of nonperformance through the bargaining process. Id. Any party to

   a contract who attempts to circumvent the contractual agreement by making tort claims will, in

   effect, be seeking to obtain a better bargain than originally made. Id.

           Here, the complaint makes clear that Armchem’s claims for tortious interference are not

   independent of its claim for breach of contract. In support of its breach of contract claim, Armchem

   alleges that it has “active ongoing relationships with specific customers and has legitimate business

   interests including, but not limited to, retaining such relationships.” Id. at ¶ 66. It also alleges that

   “Caturano has breached the non-solicitation clause of the Agreement as he utilized Armchem’s

   Confidential Information to solicit Armchem’s and its affiliates’ customers to become customers

   of Momar.” Id. at ¶ 72. Armchem alleges that, “[a]s a result of Caturano’s breach, Armchem and

   its affiliates have experienced and continues to experience economic loss in the form of lost

   customers and lost sales due to its competitor Momar having access to its Confidential Information

   via Caturano.” [DE 39-1], Counterclaims, ¶ 57. Armchem claims it would be “irreparably injured

   if the Court did not enforce the provisions of the Agreement by prohibiting Caturano from
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   competing against Armchem and its affiliates . . . and contacting Armchem’s and/or its affiliates’

   employees or associates.” Id. at ¶ 61.

          Similarly, in comparison, Armchem’s tortious interference claims also state that “Caturano

   unjustifiably and intentionally interfered with the [contractual relationships / business relationship]

   between Armchem and its current and former employees by inducing them to breach their

   contractual obligations with Armchem.” Id. at ¶¶ 90, 97. Armchem alleges that Caturano

   improperly used his knowledge of those relationships and understanding of Armchem’s

   “Confidential Information,” which resulted in “the loss of good will with [Armchem’s] customers”

   and that Armchem “has experienced and continues to experience economic loss in the form of lost

   sales; customer good will; and the expense of recruiting, replacing, and training new sales people.”

   Id. ¶¶ 93, 100.

          On the face of the pleadings, Armchem’s claims for tortious interference are precisely the

   same as its claim of breach of contract. On the one hand, Armchem claims that Caturano’s

   employment contract prohibits him from improperly using Armchem’s “Confidential Information”

   and recruiting Armchem’s employees or inducing them to breach their own alleged contractual

   obligations; while on the other hand, Armchem takes the position that Caturano tortiously

   interfered with business relationships (without specifying which ones) from the same conduct. As

   a matter of law, Armchem cannot simultaneously pursue its tortious interference claims and its

   breach of contract claim on the basis of the same underlying conduct. Accordingly, Armchem’s

   tortious interference claims should be dismissed.

          C.         Armchem Does Not Allege The Existence Of Contracts Or Business
                     Relationships With Which Caturano Allegedly Interfered.

          Armchem has failed to state viable claims for tortious interference with a contractual and/or

   business relationship because it does not even allege a business relationship or contract with which


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   Caturano interfered. Under Florida law, the elements of tortious interference with a business

   relationship are: (1) the existence of a business relationship; (2) knowledge of the relationship on

   the part of the defendant; (3) an intentional and unjustified interference with the relationship by

   the defendant; and (4) damage to the plaintiff as a result of the breach of the relationship. See Duty

   Free Americas, Inc. v. Estee Lauder Companies, Inc., 797 F.3d 1248, 1279 (11th Cir. 2015).

          Intentional interference claims that do not allege sufficient factual detail to support each

   element will not survive dismissal. See CareersUSA, Inc. v. B2B Staffing Servs., Inc., No. 14-

   80096-CIV, 2015 WL 13776168, at *1 (S.D. Fla. Apr. 27, 2015). For example, in CareersUSA,

   Inc., a personnel staffing firm, CareersUSA alleged that a former employee, Guerrero, stole

   proprietary information, trade secrets, and trademarked documents, and conspired with colleagues

   and other individuals to defraud CareersUSA and poach clients. Id. The court dismissed

   CareersUSA’s intentional interference claim, reasoning that the claims was not “facially plausible”

   and “entirely devoid of any factual details,” and explaining that plaintiffs must allege “factual

   content that allows the court to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Id. (emphasis in original). The court reasoned that mere “labels and

   conclusions” or “a formulaic recitation of the elements of a cause of action” will not survive

   dismissal. Id.

          As for the first element—the existence of a business relationship—the Supreme Court of

   Florida has explained that the plaintiff need not allege the existence of an enforceable contract and

   that the plaintiff can prevail “if the jury finds that an understanding between the parties would have

   been completed had the defendant not interfered.” Id. (quoting Landry v. Hornstein, 462 So.2d

   844, 846 (Fla.Dist.Ct.App.1985)). As a general rule, a plaintiff may properly bring a cause of

   action alleging tortious interference with present or prospective customers, but no cause of action



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   exists for tortious interference with a business's relationship to the community at large. See

   Southern Alliance Corp. v. Winter Haven, 505 So.2d 489, 496 (Fla. 2d DCA 1987). Rather, an

   action for tortious interference with a business relationship requires a business relationship

   evidenced by an actual and identifiable understanding or agreement which in all probability would

   have been completed if the defendant had not interfered. See Ethan Allen, Inc. v. Georgetown

   Manor, Inc., 647 So. 2d 812, 815 (Fla. 1994).

          Here, Armchem has vaguely stated that “contracts existed between Armchem and its

   affiliates current and former employees that included, but is not limited to employment agreements

   and non-compete and nonsolicitation agreements.” [DE 39-1], Counterclaims ¶ 88. Armchem

   provides no further detail on any of these alleged relationships and does not provide the specific

   names of individuals involved. In fact, Armchem does not actually allege or identify any particular

   contract with which Caturano allegedly interfered, or any specific contract or relationship that

   would have been consummated but for Caturano’s alleged interference. The closest Armchem

   comes to claiming the existence of a valid contract with which Caturano allegedly interfered

   appears in Paragraph 90 – “Caturano unjustifiably and intentionally interfered with the contractual

   relationships between Armchem, and its affiliates, and their current and former employees by

   inducing them to breach their contractual obligations with Armchem and its affiliates and begin

   employment with Momar.” [DE 39-1] Counterclaims, ¶ 90. Armchem does not allege whether

   these “current and former employees” were under at will or express contracts of employment, and

   if the latter, what particular terms of employment that each of the “current and former employees”

   breached.

          These bare bones pleadings do not rise to the level of the “threadbare recitals of the

   elements of a cause of action” that the United States Supreme Court has held to be insufficient,



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   (Iqbal, 556 U.S. at 678 (“[t]hreadbare recitals of the elements of a cause of action, supported by

   mere conclusory statements, do not suffice”)), much less establish the requisite “factual content”

   required under Florida law to bring an intentional interference claim. See CareersUSA, Inc. v. B2B

   Staffing Servs., Inc., 2015 WL 13776168, at *1. For this reason alone, Armchem’s claims for

   tortious interference should be dismissed.

          D.      Caturano’s Purportedly Tortious Conduct Is Justified And Furthers A
                  Legitimate Business Interest.

          Armchem’s claims for tortious interference also fail because they do not allege that the

   interference was for any reason other than furthering a legitimate business purpose. The third

   element of a tortious interference claim – intentional and unjustified interference with a business

   relationship – requires the plaintiff to allege that “the defendant acted without justification.” Duty

   Free Americas, Inc. v. Estee Lauder Companies, Inc., 797 F.3d 1248, 1280–81 (11th Cir. 2015).

          The third prong of an intentional interference claim requires demonstration of both an

   intent to damage a business relationship and a lack of justification for doing so. Id.; see also Smith

   v. Emery Air Freight Corp., 512 So. 2d 229, 230 (Fla. Dist. Ct. App. 1987). Significantly, where

   “there is no contract right to have the relation continued, but only an expectancy[,] . . . a competitor

   has the privilege of interference in order to acquire the business for himself.” Id.; accord

   Greenberg v. Mount Sinai Med. Ctr. of Greater Miami, Inc., 629 So.2d 252, 255 (Fla.Dist.Ct.App.

   1993). “If a defendant interferes with a contract in order to safeguard a preexisting economic

   interest of his own, the defendant's right to protect his own established economic interest outweighs

   the plaintiff's right to be free of interference, and his actions are usually recognized as privileged

   and nonactionable.” See Heavener, Ogier Servs., Inc. v. R.W. Fla. Region, Inc., 418 So.2d 1074,

   1076–77 (Fla.Dist.Ct.App. 1982); see also Sec. Title Guarantee Corp. of Balt., 543 So.2d 852, 855

   (Fla. Dis. Ct. App. 1989) (noting that, as “long as improper means are not employed, activities


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   taken to safeguard or promote [a company's] own financial interests are entirely non-actionable.”).

          Moreover, even if the plaintiff has an existing, terminable-at-will contract, the defendant's

   interference to protect its economic interests is privileged unless the plaintiff alleges “a purely

   malicious motive” divorced from any “legitimate competitive economic interest.” See Duty Free

   Americas, Inc. v. Estee Lauder Companies, Inc., 797 F.3d 1248, 1280–81 (11th Cir. 2015). Where

   the plaintiff alleges only a prospective business relationship—and thus the plaintiff has a “mere

   expectancy” of a new relationship—the privilege of interference similarly bars only interference

   consisting of malicious conduct. Id. It is only when the defendant’s sole motive was a malicious

   wish to injure the plaintiff that a tortious interference claim can proceed. Id.

          This precedent is consistent with long-standing Florida policy that “skill and knowledge

   are assets gained by an employee which are transferable to his future use in business and in life

   and which become a part of his own mental equipment . . . [i]t is impossible to leave them behind

   so long as they exist within the mind of the employee . . . [n]ot all knowledge gained by an

   employee or agent is confidential and in such instance equity has no place in restriction of its

   subsequent use.” Renpak, Inc. v. Oppenheimer, 104 So. 2d 642, 645 (Fla. Dist. Ct. App. 1958).

          Here, Armchem readily admits that any contract interference (which Caturano denies) was

   done in an effort to engage in legitimate competition with Armchem. Armchem’s claims Caturano

   began working for Momar in February 2020 as a Sales Manager, which is the same position he

   held while working for Armchem. [DE 39-1], Counterclaim, ¶¶ 9, 33. Armchem claims that

   Caturano’s job responsibilities at Momar are similar to his job responsibilities as an employee of

   Armchem and further alleges that Caturano’s sales territory at Momar “is similar to, if not the same

   as, his sales territory while at Armchem.” Id. at ¶¶ 36-37. Importantly, Armchem admits that

   “Momar is a direct competitor of Armchem” and provides the exact same description of both



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   Armchem’s and Momar’s business – that they are both in the business of “selling and distributing

   a range of cleaning supplies, maintenance products, and safety products to customers in various

   parts of the United States.” Id. at ¶¶ 6, 28, 34-35.

          Armchem claims that Caturano committed misconduct by “[r]eaching out to several sales

   representatives he came to know or worked with while at Armchem and recruiting them to accept

   employment at Momar;” “[u]sing the Confidential Information he learned while at Armchem to

   recruit Armchem’s, and its affiliates’, salespeople to work at Momar”; “[p]roviding the

   Confidential Information relating to Armchem’s and its affiliates employees and associates to

   Momar in order to give an unfair business advantage to Momar;” and “[o]therwise competing

   directly with Armchem and its affiliates in the restricted geographical territory by working for

   Armchem’s and its affiliates’ direct competitor in the same or similar capacity as his job at

   Armchem.” Id. at ¶ 38. Based on these allegations, Armchem brings its claim for tortious

   interference and states that “Caturano . . . interfered with the contractual relationships between

   Armchem, and its affiliates, and their current and former employees by inducing them to breach

   their contractual obligations with Armchem and its affiliates and begin employment with Momar.”

   Id. at ¶ 90 (emphasis added).

          Armchem thus admits that any contract interference (which Caturano denies) was done in

   an effort to engage in competition with Armchem. As this Court has acknowledged, engaging in

   competition—including recruiting at-will employees to work for a competitor—is a well-

   recognized legitimate business interest that makes any interference justified. Armchem has also

   wholly failed to allege that Caturano’s alleged actions (which, again, Caturano denies) were done

   for a malicious purpose. Therefore, Armchem has failed to state plausible claims for tortious

   interference because it cannot satisfy that third element – that the conduct be malicious and without



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   justification.

                                           CONCLUSION

           Armchem’s amended counterclaims for (1) breach of fiduciary duty (Count III), (2) tortious

   interference with contractual relationship (Count IV), and (3) tortious interference with

   advantageous business relationship (Count V), fail to state a plausible claim for relief for the

   various reasons described above. Because Armchem has failed to satisfy its pleading obligations

   with respect to these claims, the Court should dismiss them pursuant to Fed.R.Civ.P 12(b)(6) with

   prejudice.

           WHEREFORE, Plaintiff/Counterclaim-Defendant John Caturano, respectfully requests

   this Court enter an Order granting the relief requested herein together with such further relief as

   this Court deems proper.

                                                Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on February 11, 2021, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record or pro se parties identified on the attached Service List in
   the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.


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                                       SERVICE LIST

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                   United States District Court, Southern District of Florida


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